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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                          )
BEAN LLC d/b/a FUSION GPS                  )
             1700 Connecticut Ave., NW     )
             Suite 400                     )
             Washington, DC 20009,        )
                                          )
                          Plaintiff,      )
                                          )
      v.                                  )   Case No. 1:17-cv-02187-TSC
                                          )
DEFENDANT BANK,                           )
                                          )
                          Defendant,      )
                                          )
                                          )
PERMANENT SELECT COMMITTEE ON             )
INTELLIGENCE OF THE U.S. HOUSE OF         )
REPRESENTATIVES,                          )
                          Intervenor.     )
__________________________________________)

                       MOTION TO STRIKE PLAINTIFF’S NOTICE
                        OF ADDITIONAL RECORD EVIDENCE

       On December 12, 2017, Plaintiff improperly filed a Notice of Additional Record

Evidence (ECF No. 45) (“Notice”), attaching two new fact declarations and a voluminous

collection of news articles. Plaintiff filed its Notice without authorization from this Court, in

violation of Local Rule 65.1(c), and without seeking consent from Intervenor Permanent Select

Committee on Intelligence (the “Committee”). This procedurally improper Notice seeks to

introduce irrelevant evidence – much of it relating to purported actions and communications of a

different House of Congress and a separate Branch of government – to discredit and impede the

Committee’s investigation into Russian activities related to the 2016 election. This investigation

is a “national security necessity” and the Committee’s motion to strike should be granted so that



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the Committee may promptly “meet the expectations of the American people” by providing “a

full accounting of all facts.” 1

        On December 14, 2017, pursuant to Local Rule 7(m), counsel for the Committee

conferred with Plaintiff’s counsel, who indicated that Plaintiff opposes this motion to strike, and

with Defendant Bank’s counsel, who does not oppose this motion. A proposed order is attached

and oral argument is not requested.

                                          ARGUMENT

        The Local Rules of this Court clearly prohibit the filing of supplemental affidavits in

support of an application for a preliminary injunction, absent leave of the Court. See LCvR

65.1(c) (“Supplemental affidavits either to the application [for preliminary injunction] or the

opposition may be filed only with permission of the Court.”). Plaintiff’s failure to comply with

Local Rule 65.1(c) requires that its Notice be stricken from the record. See Economic Research

Services, Inc. v. Resolution Economics, LLC, 140 F.Supp.3d 47, 49 n.2 (D.D.C. 2015) (Leon, J.)

(striking Reply Brief in Further Support for failure to comply with LCvR 65.1(c)).




1
 Press Release, Perm. Select Comm. on Intelligence, Intelligence Committee Chairman, Ranking
Member Establish Parameters for Russia Investigation (Mar. 1, 2017) (Ranking Member Schiff).
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        The Notice should also be stricken because the proffered evidence is irrelevant and

provides no support for Plaintiffs’ oft-repeated but baseless allegation of “a punitive effort by

Chairman Nunes to retaliate against [Plaintiff] and to interfere with its constitutional rights.”

Notice at 3. Plaintiff’s submission serves only to confirm that of Plaintiff’s conduct lies at the

center of the legitimate investigation being conducted by the Committee in furtherance of the

public interest.

        First, Plaintiff’s reliance on Watkins v. United States, 354 U.S. 178 (1957), is misplaced.

Watkins involved a witness who refused to answer questions from the House Committee on Un-

American Activities regarding his knowledge about other people’s past membership or

participation in the Communist Party. See id. at 185. The Court overturned the witness’s

contempt conviction on the ground that the government had failed to establish pertinency. Id. at

214-15. Before resolving that issue, the Court discussed in general terms the scope of

Congress’s power to punish recalcitrant witnesses for contempt, including the uncontroversial

position that “[i]nvestigations conducted solely . . . to ‘punish’ those investigated are

indefensible[,]” id. at 187. The Court also emphasized, however, that it is not the function of the


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courts to “test[] the motives of committee members for this purpose[,]” and that “[t]heir motives

alone would not vitiate an investigation” that had been validly authorized, as long as the

legislative chamber’s “legislative purpose is being served.” Id. at 200.

        As the discussion in Watkins reveals, id. at 198-99, the admonition relied upon by

Plaintiff stems from Kilbourn v. Thompson, 103 U.S. 168 (1881), which involved a House

contempt proceeding arising out of an investigation into the bankruptcy proceedings of a

company in which the United States had deposited funds. Id. at 193. The Kilbourn Court

concluded that the contempt citation violated this admonition because the House had no “right

. . . to interfere with a suit pending in a court of competent jurisdiction[,]” id. at 194, and there

was “no hint of any intention of final action by Congress on the subject,” id., in that the

investigation “could result in no valid legislation on the subject to which the inquiry referred,”

id. at 195.

        Thus, the fatal flaw in Kilbourn was that the House was engaged in an investigation that

had no legislative purpose and was instead “in its nature clearly judicial.” Id. at 192. Kilbourn

(and the reiteration of its rationale in Watkins, 354 U.S. at 194-95) therefore has no application

here, where the investigation falls squarely within the scope of the legislative jurisdiction

conferred on the Committee by the House. Pursuant to H. Res. 5 (115th Cong.), the Committee

is empowered to investigate “the activities of the intelligence community,” see Committee Resp.

in Opp’n (ECF No. 12) (citing Rules of the U.S. House of Representatives, Rules X.3(m),

X.11(b)(1)), a subject on which extensive legislation already exists and additional legislation is

under consideration. In accordance with the broad conferral of legislative authority, the

Committee is investigating, among other things, “allegations of Russian collusion with any U.S.




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Persons”. Press Release: Permanent Select Comm. on Intelligence, Intelligence Comm.

Chairman, Ranking Member Establish Parameters for Investigation (Mar. 1, 2017). 2

         Plaintiff’s extensive connection with and involvement in the subject matter of the

Committee’s investigation is well-established and cannot seriously be questioned. Indeed, the

public record amply demonstrates that Plaintiff and its affiliates were heavily involved in

obtaining unverified information from Russian sources and disseminating it to the Intelligence

Community, both directly and indirectly (through the media), at least in part in an attempt to

influence the 2016 presidential election. In addition, Plaintiff has admitted to having information

directly relevant to this investigation. Accordingly, there is no merit whatsoever to Plaintiff’s

hyperbolic claim that it is being “punished” by the Committee or its Chairman. The Committee

is engaged in an indisputably legitimate effort of immense national importance as it seeks to

understand and identify potential legislative responses to widespread allegations of Russian

collusion, and Plaintiff unquestionably engaged in precisely the type of Russian collusion that

lies at the heart of that legitimate investigation. This case bears no relationship whatsoever to

Kilbourn.

         Second, Plaintiff’s purported evidence fails to establish any supposed “punitive effort …

to retaliate against [Plaintiff]” on the part of the Committee or the Chairman. In fact, the

majority of the attached articles refer to actions by persons and/or entities other than the

Committee. For example, exhibits A, B, and M each are reports of actions by President Trump

or his surrogates. Exhibit A relates to President Trump’s discussions with an unnamed

“Republican Senator,” Notice Ex. A (ECF No. 45-2), while exhibit B reports on Twitter

statements by the President regarding the purported connection between Plaintiff and former


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    Available at https://intelligence.house.gov/news/documentsingle.aspx?DocumentID=767.
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President Obama, Notice Ex. B (ECF No. 45-3). Neither exhibit mentions the Committee,

Chairman Nunes, or the House of Representatives. Exhibit M relates to statements by one of

President’s Trump’s attorneys calling for a new special counsel to be appointed to investigate

conflicts of interest at the Department of Justice (“DOJ”) and Federal Bureau of Investigation,

and proves nothing about the Committee. Notice Ex. M (ECF No. 45-14).

       Similarly, both exhibits C and F relate to the Senate and its separate and independent

investigation into Russian interference in the 2016 election. Again, neither exhibit mentions the

Committee, its Chairman, or the House of Representatives. Notice Ex. C (ECF No. 45-4);

Notice Ex. F (ECF No. 45-7). Finally, Exhibits D and G both relate to the actions of the Special

Counsel, Robert Mueller, with exhibit D focused on the indictment of Michael Flynn, Notice Ex.

D (ECF No. 45-5), and exhibit G on the Special Counsel’s attempt to obtain information from

Deutsche Bank regarding President Trump’s personal and/or business finances, Notice Ex. G

(ECF no. 45-8). The only reference to the Committee in either exhibit is to the well-publicized

fact that the Committee was scheduled to (and in fact did) interview Donald Trump, Jr. on

Wednesday, December 6, 2017. See Notice, Ex. G at 4 (ECF No. 45-8). None of this provides

the slightest support for Plaintiff’s spurious allegations.

       Finally, to the extent that any of Plaintiff’s exhibits relate to the Committee’s

investigation, they do not support the claim of an investigation to “retaliate against [Plaintiff].”

Rather, at best, they reflect only the predicable disagreements between the Chairman and the

Ranking Member regarding investigative tactics, see Notice Ex. E at 4 (ECF No. 45-6) (quote

from Committee Ranking Member Schiff), or merely utilize information relating to the

Committee’s investigation to give context to or explain independent actions taken by DOJ. See,

e.g., Notice Ex I (ECF No. 45-10) (referencing Committee investigation in article primarily


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about demotion of DOJ official); Notice Ex. J (ECF No. 45-11) (same); Notice Ex. L (ECF No.

45-13) (same).

       In any event, even if Plaintiff could identify actual evidence to support its baseless

attempts to impugn the motives of individual Members of Congress – which it has not done –

such evidence would be irrelevant. As the very case on which Plaintiff relies makes clear, the

courts may not “test[] the motives of committee members,” and “[t]heir motives alone would not

vitiate an investigation” that, like this one, is validly authorized and furthers the House’s

“legislative purpose.” Watkins, 354 U.S. at 200; see, e.g., Barenblatt v. United States, 360 U.S.

109, 132 (1959) (“So long as Congress acts in pursuance of its constitutional power, the

Judiciary lacks authority to intervene on the basis of the motives which spurred the exercise of

that power.”).




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                                         CONCLUSION

        Because Plaintiff filed its Notice without seeking leave of court in violation of Local Rule

65.1(c), and for all the other reasons above, the Court should strike Plaintiff’s Notice and deny

the relief requested by Plaintiff.

                                              Respectfully submitted,

                                              /s/ Thomas G. Hungar
                                              THOMAS G. HUNGAR
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                                              TODD B. TATELMAN
                                                Associate General Counsel
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                                              Counsel for the Permanent Select Committee
December 14, 2017                             on Intelligence of the U.S. House of Representatives



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                                CERTIFICATE OF SERVICE

       I certify that on December 14, 2017, I caused the foregoing document to be filed through

the court’s CM/ECF system, which I understand caused it to be served on all registered parties.



                                                    /s/ Thomas G. Hungar
                                                    Thomas G. Hungar




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